This Rental

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Lessor") and,”

(hereinafter “Tenant” or"the Occupant’) as evi y their sigt below, andis made subjact to th J conditi forth below in this Rental which terms and conditi

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in and made a part hereof tor

call "the Space" or if eeferting to tha entire property, “the Facility".

1, TENANT
INFORMATION

Tanani, L

y lease lo Tenant and Tenant from Less&rth

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RENT IS DUE ON THE 1ST DAY OF EACH MONTH - A BILL WILL NOT BE SENT TO YOu

MAKEALL CHECKS PAYABLETO: STORAGEUSAANDMAIL OR DELIVERTO:

STORAGE~USA ANNAPOLIS #149 Lease + B07
1699 BALTIMORE ANNAPOLIS BLYp
ARNOLD, MD 21igis Date of Agreement: 10/25/57
’ OL:s4pm
C410) 737-9300
Laie a iio s
TENANT :
VENTURE CONCEPT Refundable security deposit: 0.00
1517 RITCHIE HWY SUITE 207
ARNOLD, AD 21012 Nonthiy unit rental rate: 209,00
O Additional unit features cost: 0.90
Hoge Fhone # 974-4299 Montnly rental aiscount until 04/36/38 : 20,90
Work Phone # 757-9191 Insurance Coverage $ 0.00 : 6.00

Drivers Lic #
Social Sec. #

Toeec ere nee ALTERNATE CONTACT ~
£/0 NOREEN WORTHAN

Tax on rant and features feas: 0.00

Approx. Size: LOX2OCKDO Total gonthly rate: {88.10

2603 29TH STREET Raount tendered this day:s 240,57 Next rent assessment: 11/01/97

ASTORIA, NY

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. TERMS

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RENT

TENANT MITALS:
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PAST OUE RENT/
LOCKOUT

FEE

. RENEWAL
HOLDING OVER

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TENANT 1ALS
HERE +

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. INSURANCE
OBLIGATIONS

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TENA 1ALS.
HERE

11102-212-935-4330 Refer to receipt # 58559 Paid tos 12/01/97

This Rental A ‘ io ah ch data of thelacidavof

9 i igh y month. Thereafter, the this Agi ically
senew each and every month unless notice is given ten (10) days prior to the end of the last month of tenancy by aither party, subject to all terms and conditions hereatter stated notwithstanding Tenant's notice tp Lessor
if Tenants intention to terminate this Agreement. if Tanant elects to hod over of for any reason fails to remove higher proparty from the Space ater the term of this A then this Agi shall be ik
Tenewed, on a month-to-month basis. In the event this Agreement is extended or renewed, it ig expressly agreed that the covenants and terms of this Agreement shall remain in full force and effect.

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The rant shattbe $$ £77: Per month. Rent shalt be payable as follows: Rent is due and payable the first i : each calendar month, in advance and without demand. If rental is not paid by the
it additonal $, *

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fifth (Sth) day of the month dus, Tenant agrees to pay a LATE CHARGE of $. - with an charge after tha fitteenth (15th) day of the month. Any account thirty
(30) o more days delinquent willbe assessed an additional $ -o Preforectosure Fes. Tenant agrees to pay a §, . Chatge for each RETURNED CHECK. The late chargas and returned
check charges shall be deemed as and for rent, Partial payment of rent does nol waive or void the legal effect of prior noticas given to Tenant unigss expressly agreed to lp writing by Lessor, Lessor reserves the Tight
to refuse payment by check. Lessor acknowledges payment of rental § <-/O. 3°? which pays rent until /2.~ 19_“Z. Al rental payments shall ba made to the
Lessor at the above stated addrass or at such other place as shall be dosignated in writing from Gime to time by Lessor. Any additional charges shall be payable concurrently with the rent Payment or at the tme the
addigonal charge is levied. In the evant of a seizure under Paragraph 12 hereof, it is understood and agreed that the debility of Tenant for the rents, Charges, costs, and expenses provided for in this Rental Agreement
shall not be relinquished, diminished or extinguished prior to payment in tull or termination of this Agreement, whichaver occurs first in time. It is further agreed that Tenant shall be personally liable for ail cents, charges,
costs, expenses fp the date of termination of this Agreement, expenses incurred for the sale and/or disposition of the property, advertising costs, attomeys' fogs, court costs, and any costs of repair and damages ta
the Space or Faciity as provided for below. In the evant of a sala or other disposition It is agreed that tha date of any such sale or other disposition shall constitute the data of tetmination of this Agreement,
inaddition to, itation of, i Lessor, thel ized inParagraph 12 B. gives the | i
J. ge Eaclilty for of rent, labor or other ty incurred. In tha evant Ye
in the self-storage facility, AN charges of whatever nature due under this Rental Agreement shall constitute rent.
The Lessor shall have the right to place a jock on Tenant's door after the fifth (Sth) day of the rental period (unless otherwise set forth by the selt-storage faws of this state), if the renl has not baen received, The
overlock placed by the Lessor shall serve es notification that rent is due and not Paid according to the Lessor's records. The ovarlock shail be removed only during the office houts of the self-storage facility.
Concurrently with the execution of this Rental Agreement, Tenant shall pay to Lessor $°, 6 -OD asa Naw account Administration Fea.
Lessor reserves the righl not to extend or renew this Agreement for any Cause or no Cause whatsoovel, and Tenant agrees tp vacate upon any default by Tenant of upon any notica of termination from Lassor,

Unless ten (10) days prior to the and of the fast month of tenancy, or any extension or renewal of this Agreement, aither of the Parties gives the other party notice of his/her intention to terminate this Agreement
at the end of the paid term, this Agreement shall be construed as a tenancy at sufferance at the rental rate and on the same lars and conditions herein Specified, or as such may be modified pursuant to Paragraph
18 below. TENANT AGREES TO GIVE WRITTEN NOTICE OF INTENT TO TERMINATE OR VACATE TEN (10) DAYS PRIOR TO THE END OF THE LAST MONTH OF TENANCY, AND TENANT AGREES THAT
FAILURE TO GIVE SUCH WRITTEN NOTICE WILL ALLOW LESSOR TO CLAIM AND RECOVER ANY DAMAGES AND CHARGES TO WHICH LESSOR MAY BE ENTITLED (Refer to Paragraph 36, “Rules
and Regulations’ Item #14),

property, whether or y the Tenant,
tha Lessor may wit ice, deny the Te hi

Property located

Descrpionofpropety OV es. ye Cord

(fFair Market eds supply Insurance Co., Policy #.
Tenant agrees thal in no evant shall the total value of ail Property stoxed In this Space be deamed to exceed $5,000 unless the above stated Policy is in effect for the entire period of occupancy. Tha provisions of this
paragraph do not alter the release of Lessors tabuity set forth in Paragraph 12, ‘Default’ nor do they consititute any admission that Tenant's 6tored property has any value whatsoever, Storage of any materials classified
as hazardous or ilagal under any state, federal or local aw or regulation is Prohibited. The stocage of welding or flammable, chemical, odorous, explosive or other inherenty dangerous matenal is Prohibited. Tenant
shall not do or permit to be done any act which creates or may create a hazard or nuisance in Connection with Tenant's use of the Space. In Lessor’s sole discretion, access to the Facility may be conditioned in any
manner deemed necessary by Lessor. Tenant ges that the Space may be used for storage only, and is not to be used for the conduct ol business. Human or animal habitation is Specifically prohibued.

NO BAILMENTIS CREATED HEREUNDER. LESSOR IS NOT A WAREHOUSEMAN ENGAGED IN THE BUSINESS OF STORING GOODS FORHIRE, AND ALLPROPERTY STORED WITHINOR ON THE SPACE BY

TO TENANT UNDER THE TERMS OF THIS RENTAL AGREEMENT.
TENANT HEREBY AGREES TO INDEMNIFY AND HOLO HARMLESS THE LESSOR FROM AND AGAINST ANY AND ALL CLAIMS FOR DAMAGES OR LOSS TO PROPERTY OR PERSONAL INJURY
AND COSTS INGLUDING ATTORNEYS’ FEES ARISING FROM TENANT'S USE OF THE SPACE OR THE FACILITY. OR FROM ANY ACTIVITY, WORK OA THING DONE, PERMITTED OR SUFFipieioeia
BE DONE BY TENANT IN OR ON THE SPACE OR ABOUT THE FACILITY,
TENANT HEREBY EXPRESSLY AGREES THAT ANY CARRIER WHICH ISSUES ANY INSURANCE ON ANY PROPERTY STORED OR OTHERWISE LOCATED IN THE SPACE SHALL NO’
RIGHT OF SUBROGATION TO ANY CLAIM THE TENANT HAS AGAINST THE LESSOR, LESSOR'S AGENTS OR EMPLOYEES TO INCLUDE LESSOR'S INSURANCE CARRIER,

for such occurences, Tenant agreas to notily Lessor immediately upon the occurrence of any injury, Gamage or loss suffered by the Tenant or other Persons on or within the Facility,
Nothing in this Paragraph is intended to limit or waive either party's Fights under the laws of this state as summarized in Paragraph 12 B, By placing his/her initiats Tenant acknowledges that he/she
‘ai will sth i i.

ALL-STATE LEGAL®

10. INSPECTION Upon the request ct Sie Lessor, ie Traant shall provide access to the Lessor to enter the leased Space for the purpose of inspection, separt, alteration, improvemionts, of to sis NGCESSErY OF agreed services.

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in,

fi. LIEN IN ADDITION TO. ANY LIENS ANG REMEDIES PROVIDED BY LAW TS SECURE AND COLLECT RENT, AND CUMULATIVE THEREWITH, TENANT HEREBY GIVES |.ESSOR A CONTRACTUAL LANDLORD'S
LIEN UPON ALL PROPEATY, NOW OR AT ANY TIME HEREAFTER, STORED IN OR ON THE SPACE OR AT THE FACILITY IN ORDER TO SECURE THE TIMELY PERFORMANCE GF THIS AGREEMENT
BY TENANT AND SECURE THE PAYMENT OF ALL RENTS, CHARGES, AND COSTS INCIDENT TO TENANT'S DEFAULT. FURTHERMORE, LESSOR HAS A LIEN GN ALL PROPERTY IN & SELF-STORAGE FACILITY
FOR THE PAYMENT OF RENTS, LARCR OR OTHER CHARGES THAT ARE OUE ANDUNPRIDBY THE TENANT PURSUANT TO THE LAWSOF THIS STATE AS SUMAMARIZEDIN PARAGRAPH 128,

12, DEFAULT Time is of the assenca in thé pertormance of this Agreement and in the payment of cach and every installment of rent and charges herein convenatad to be paid. tt any rant or charge shall be sue and unpaid. or
a Tenant shai fail ex retusa to perform any af the covenants, coridiiions or terms of this Agreement, Tenant shall be concivsively deemed in default fn the performance of this Agreemar:. Nothing contained in this Rentat
Agrees be construed as limiting Lessov's rights and comedies a3 provided under the taws of this state.

Hon, and withoul prejudice tc any olhwr remedies. Lessor may:

B. SEIZE AND SELL THE PROPERTY AGAINST WHICH ALIEN HAS ATTACHED UNDER MARYLAND SELF-STORAGE FACILITY ACT § 18-561 et. seq. COMMERCIAL

LAW ARTICLE, CODE OF MARYLAND (AHNOTEO), THAT LAW PROVIDES FOR SALE OF THE PROPERTY AFTER DEFAULT 7
FOR MORE THAN SIXTY (60) DAYS; BEFORE SUCH SALE IS HELD, LESSOR SHALL MAIL NOTICE OF DEFAULT BY EXPLANATION i
CERTIFIED MAUL, RETURN RECEIPT REQUESTED, TO THE OCCUPANT AT OCCUPANTS LASTKNOWN ADDRESS | Your goodsmoy bescid |
COMPLYING WITH § 18-504 (6) (2), COMMERCIAL LAW ARTIGLE, CODE OF MARYLAND (ANNGTED) AND ADVERTISE | if your rent is delinquent, j

‘THE TIME, PLACE AND TERMS OF THE SALE IN ANEWSPAPER OF GENERAL CIRCULATION IR THE JURISDICTION
WHERE THE SALE IS TO BE HELD. THE SALE SHALL BE WELD AT THE FACILITY,

13. PROPERTY : complied wah 3h 6 fequiamenés of the iaws of Wiis slate a8 summarized in F aph 12 2, Lessor may Iner otherwise cisnoss of said propery in any manner
NOT SOLD inciuding, but not fimiea ‘0 destmying the said personal property, soe pee :

14, BREACHOFCOVENANT = & teach of any of the covenants or conditions of the Agreement by the Tenant shall, al {he option of the Lagsor, terminate this Agreement and al awhich time said Ageement shal! becoms null and void.

18. BANKRUPTCY § a vollntary petition in bankreptcy, oF suffers a pettion in involuntary bankruptcy to he fied againet himiner, or makes ar assignment for tha benefil af creditors.or is placed in receivership
‘ype cf tegat schon » the righ? to use and occupancy af the teased Space is an iasua, then, al the nvON of the Lessor this Agreemelit shall terminate, end Tenant shall thereatter
in OF fo any oA the ieased Space,

ieihe event that Ye
the suvject any

16. TERMINATION Upon terns

Ns Fatal Agisement. Tepant shell remove all Tenant's personal geoperty from the. Space uniess such property ss subject 6 Lessors tien Fights as referanced in Paragapk: 11 and ahall mmediately
Uelives pozseasion Spacs to Lessor i: n@ same conditon as delivere¢ ta Tenant on the commencement date of this Rantz} Agreement, easonab'e wear and laae axcented.
17. WAIVER No wanver by nly agents, reuSsentadives or empoyces of ary breach or détault in the performance of any covenant, condition or term contained be

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f ary subsequant breech
OF defasti in fhe peri 2 OF the seme or any other covenant, condition of term erect, 2 sof ee
nt; anchusting without limitation, mony rental, conditions af cecupancy and shames are SUBJECT TO CHANGE UPON THIRTY (30) DAYS PRIOR WRITTEN NOTICE to Tengnt t changed.
on the etisctive date ol the change by giving Lessor TEN (10) GAYS PRIOR WRITTEN NOTICE te terminate. 'f the Tenant docs aot give auch . the Change shali become
fei occupancy. fe 2 ath
. INDEMNIFY AND - The Tenant agrees (o.iddemniy arid. howd haraviess the Lessor from any ond all costs, distursements, axpensss (including attomeys’ fees), demands, claims, actions, or causes of action. arising diractly or indirectly
HOLDHARMLESS | from tenants treach of, any lem oc ccvenan? in this Agreement or ary o extension therect,
. SUBLETTING aay, steo! oF assignmen

. WARRANTIES : THAT ALL TRE INFORL

18, CHANGE OF
TERMS

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TENANT HERESY WARRA
OF THIS AGREEMENT.”

Atany part.c! tis Agreement fo: any reason 1s declared ivatle, such decrsion shew
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be heraaker declared i

Agreament may be made by Tenant vathout having writen permission of Lessor in ativance. . De
BY HIMER AND INCORPORATED IN THIS AGREEMENT IS TRUE, COMPLETE AND CORRECT AT THE TIME OF EXECUTION

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22. SEVERABILITY

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Pedy Geclared the intention of tha panies that they would have eyscuted the remaining portion af this Agreements

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23, SUCCESSION © Ssign thia Renta! Agraament inswbicl avant; Lessor shall no ongor bs rasponsibie or fiable under the te:me of tis Ageement and all of the grovisions herect shall apply {0, dnd, and o6
_. dbligascry upon the saniex and ther haus. assigns, executors, adminis ves, and of the parties hazetn. - . . . ee
24, STATELAWTOAPPLY This Agreciment and any acucr arising betwean hrs parties shall be construed under and in ayeordanoe with the substantive laws of thus state ag summarized in Faragrayh 12,

25. DISCLAIMER The agents and amployees of Lessor are not guthorzed to make warrantes about the Space, premises, and Facitty referred to in this Agreement, Lessors agents’ and employees’ GRAL STATEMENTS DC NOT
ve CONSTITUTE WARRANTIES, afd shali nat pe raked upon by Tenant, nor shalt iis be considered a part of this Aar 1. The entre Agreement and af fie parties heretois embodies
«4 this gniting ard NCO beyond tose set fortirin this Agreement: 7ho partias nereto agree thal the IMPLIED WARRANTIES GF MERCHANTABILITY AND FITNESS FOR APARTICULAR
PURPOSE ang i ieplisg, ARE EXCLUGES fiom this fransaston and shail not apply to the leased Space, premisas, and Facility refered to herein. It is turther understoad and agreed
yinepact. BT had ingredled Wis Stace, Harttsas? aad Facility, and that Tenant accepts such (eased Space, premises, and! Faniity AS 5 ar BALL FAULTS.
26. ENTIRE a the scle and only Agreerieni of the partes herete ard auperseces any prior ur derstancings or writin or cea! agreements Sewaen the parties
AGREEMENT i ton of the tarms harect shall be binding unless the same be mn writing, dated subsequant in the date hereof, and culy executed by the parties
ns of Paracraph 18 above.
27. HEACINGS ‘used only faz the convenience of the parties aia are net 20 be used sn consluing this 2oresment tar 9 asecita: intentions o} the
CATES
28. RULES pio Tha Riga and Rey s2tons as listesbelow ere made a pad af this Rental, Agraement and Tenant agrees 'o comply at al! mes with such Rules end Requlations, Lessor shall have ihe rh
REGULATIONS

! Gules ard Sequiations for safely, ewe, and cleantinass of te Faciity and upon posting of any such amendments of adeitions in x conspicuous place at the Fac

29, ALTERATIONS,
SIGNS & WASTES in or on the Space o at th

30. PARKING Tha Torani agraes tri

ot suller 19 OS committed any waste

in De ereaa providsd ang that no parking shad ba pannitted ovemight. Loacing and unloading of vehictes shall not be dane in
iy &s possiols. This Rental Agreement does nat incluce the storage of automobiles, boats, inailars or other vehicies or ps

ich 3 way ag to block access
hat property outside cf ihe leasco

ken & € any tet, Covenant or condition herein contained ar fo cacover any rent ox charge dus oF fo recover possesskin 4 the Space ar Facibty
Tonant agrees te ant shad pay Lessors reasonanle aticmeys’ fees, costs, and expanses in connection tharewath.

i BE THE OUTY GF TENANT TO FURNISH THE LESSOR NOTIFICATION, IN WRITING BY CERTIFIED Mak. TO LESSOR'S ADDRESS OROVIDED HEREIN OF ANY CHANGE OF ADDR
NT

at, ATTORNEYS:
FEES

32. CHANGE QF
ADDRESS

33. LOCK

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ese a tack we the Spank ant's ace discrehon. deems sufficient to 52: Space. Space ahait be i i flocked usu io: of the Agr .
3595 apents with # key andlor ecebinaticn ic. Tenari’s tock unless Cellverias ale to be accepted by Lessor on Tenants behall, pursuant ts @ secarate agreement #9 thet effect.

34. ABANDONBENT SS50 16 the contrary if af property is removed ftom the stage Space tor ten (10; conseculive days and if the Tenant has failed 10 Maks hisher monmiy payment bekxe ne
H@S fermaved the jock bom the storage Space. the Te hall be deemed 1 have atandened the premises.
35. SPECIAL Thera até fC special conciions other thar, those ksted here:

CONDITIONS {0 % USE LLLé VAGTE
LEAS UANTS 216 Gud ee 3C2

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. RULES & O° No relunds wit be graaied,
REGULATIONS (2) Casarve the 5 miles par hour
i DS nat comnaci rstagerators

ie ars iy could bs fumed of at any time,
" (4) Go not use any type of electric or gas heater tn your stérage Space. Use of any equipment using electricity. inciuding cmali tools and heat lamps, must be approv

Sin the opinion of fre Manager en excessive amount of electnsity is used, an additcnal fee wit ba charged. Disconiert ary extension zords or electrical eoupraent wh

ches, rerosens lamps, candiss, etc. are alowed in tha Space.

ING, 2X HOSES jenals in your Space,
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your Space. Da not d i pace. Uaath Pp provided at the facility tor disposal ef small item:

bist Hai Lott
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Ps
(11) The Facility wil be closed on New Year's Day. Easter, the 4th of July, Thanksgiving Oey and Christmas. These dains are posted in the Facility office in advance as 3 rence:
152} YOU ARE RESPONSIBLE: Lock your Space using only Gna lock. You must obtain Insurance if you wash your property insured.

U3} CHANGE OF ADDRESS: Rerort any change of adress, phone numbor, etc. by cerb“ad mail {c the otfice to keep our records curent,

fl4) VACATE POLICY: When vow plan lo vacate, ¥ou must give our Manager wtitten notice at feast ten (10) days prior to the end of your fast month of tentney, It you
HERE — reat for a month bul vacate by tha Ath (Sth), your rent will be ororated. Atier the fifth (Bth}, one month's rent will be due evan If you vacate,

: Wf. RENTAL PROV Al nf the prwisions of the Renta! Agreement, af which thase 8

your access io
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Pate ARG

FB OUSINAES Novis will De credited D the next dusiness day

Ol accuRNable as pavment upon muve cut by the Tenant,

NOTICE TO TERA: DO HOT SIGN THE a Ri ST AND FULLY UNCERSTANO THE COVENANTS CONTAINED HEREIN, KEEP & COPY OF THIS
¢ PMENT THAT HE/SHE HAS READ. UNDERSTOOD END ACCEPTS ALL THE TERRA ANID

Bxetuke Tia

VENANT S S:3GNAT.

LESSOR
By.

TTmE wanagey? Assistant Manager
